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                        UNITED STATES DISTRICT COURT                     FILED
                         WESTERN DISTRICT OF TEXAS                          MAY 2 82019
                            SAN ANTONIO DWISION
                                                                    CLERK, U.S. DISTRICT COURT
                                                                    WESTERN DISTRI T OF TEXAS
                                                                                 D   UTY CLERK
 SHANNON PEREZ, etal,

         Plaintiffs:,
                                              CIVTL ACTION NO.
                                              SA-i 1-CV-360-OLG-JES-XIR
                                              [Lead case]
 STATE OF TEXAS, etaL,

        Defendants.



                                      ORDER

      In its Order of August 30, 2018, the Court found that a remedy for the 2020

election is required to address the Court's finding of unconstitutional racial

gerrymandering regarding the configuration of House District 90 in Plan H358. ECF

No. 1600.

      On May 2, 2019, the Court conducted a hearing to address potential remedies

for the unconstitutional racial gerrymandering found in HD 90 in Plan H358. At the

hearing the Court considered testimony, evidence, and the positions of the parties

concerning Plan H41 1, the proposed remedial plan jointly submitted by Texas Latino

Redistricting Task Force, the Mexican American Legislative Caucus, and the State

Defendants.     See ECF No. 1624. Plan H41 1 alters the configuration of HD 90 and

adjoining districts in Tarrant County but makes no further changes to the existing Plan

H358. The Court finds that Plan H41 1 maintains LID 90's majority HCVAP and SSVR
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status, eliminates the changes that led this Court to find racial gerrymandering,

and reflects the choices made by the Texas Legislature in 2013. The Court

therefore concludes that the modifications contained in Plan H41 1 should be

incorporated into Plan H358 and that the resulting districts should be used to

conduct elections for the Texas House of Representatives in 2020.

      Therefore, IT IS ORDERED that Plan H358 is hereby modified to

incorporate the district boundaries contained in plan H41 1 and that the resulting

districts shall be used as the district boundaries to elect members of the Texas

House of Representatives in the 2020 elections. A map showing the redrawn

districts in Plan H41 1 is attached to this order as Exhibit A. The textual

description in terms of census geography for the redrawn districts in Plan H41 1 is

attached as Exhibit B. The textual description in terms of census geography for

Plan H358 is attached as Exhibit C. Plan H41 1 can be viewed on the

DistrictViewer website at https: / /dvr.capitol.texas.gov/House/ 32/PLANH41 1.


      SIGNED this ___day of                        , 2019.




                                          ORLANDO GARCIA
                                          CHIEF U.S. DISTRIICT JUDGE
                                          [on behalf of the three judge panel]




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